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   10                            UNITED STATES DISTRICT COURT
   11                          CENTRAL DISTRICT OF CALIFORNIA
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   13 Iraj Parvizi,                            No. 2:20-cv-09059 JAK (MRWx)
   14
                        Plaintiff,             ORDER DISMISSING CASE WITH
   15                                          PREJUDICE
               vs.
   16                                          JS-6
        Create Music Group, Inc.,
   17
   18                   Defendant.
   19 Create Music Group, Inc.,
   20                   Counterclaimant,
   21
               vs.
   22
        Iraj Parvizi,
   23
        Counterdefendant.
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    1        Based on a review of the Joint Stipulation of Dismissal with Prejudice (the
    2 “Stipulation” (Dkt. 73)), sufficient good cause has been shown for the requested
    3 relief. Therefore, the Stipulation is APPROVED. All claims and counterclaims
    4 asserted in this action are hereby dismissed with prejudice based on a confidential
    5 settlement agreement between the parties. Each party shall bear their own costs and
    6 attorneys’ fees. The Court retains jurisdiction to enforce terms of the parties’
    7 settlement agreement.
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    9 IT IS SO ORDERED.
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        DATED: November 18, 2021
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   15                                          John A. Kronstadt
                                               United States District Judge
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